Case 4:16-mj-00287 Document 1 Filed on 03/01/16 in TXSS`bag§§jq q©g(§

AO 9| (Rev. l l/l l) Criminal Complaint
UNITED STATES DISTRICT CoURT
f°““‘e MAR -;;1 2016

Southern District of Texas

 

lt
Swg\nitt\°dpl?§é§tg l'.l"'::tas

 

 

United States ot`America ) pawu' h d
v. )
oEoN BARNARD vvooos § Case N°' H ‘] 6 __ 2 8 7 M
)
)
)
De/erzdant($)
CRIMINAL COMPLAINT
l, the complainant in this case. state that the following is true to the best of my knowledge and belief.
On or about the date(s) of February 25, 2016 in the county of Harri$ in the
Southern_ _ District of Texas , the defendant(s) violated:
C<)de Sectl'on Q[/‘"ense Description
18, USC, Section 922(9)(1) Fe|on in Possession of Firearm

This criminal complaint is based on these facts:

see attached affidavit

d Continued on the attached sheet.

   
 

(`ompl inant `s signature

Roland Ball steros, ATF Special Agent

Prinled name and title

Sworn to before me and signed in my presence

Date: 7/ l " |K.\

City and State; Houston, Texas l\/lary Nli||oy, U. . ate Judge

/’rimed name and liI/e

    

 

 

 

Case 4:16-mj-00287 Document 1 Filed on 03/01/16 in TXSD Page 2 of 3

Affidavit of Roland Ballesteros

Your af`fiant, Roland Ballesteros, is a Special Agent with the Bureau of Alcohol,
Tobacco, Firearms and Explosives (ATF) and has been so employed since August
1987. In my capacity as an agent, l have received extensive training in the
identification and manufacture of firearms and l am also familiar with the Gun
Control Act and I know that it is a violation of Title 18, United States Code, Section
922(g)(1) for any person who has been convicted of a crime punishable for a term
exceeding one year to possess a fireami that has affected interstate commerce

. You affiant, being duly sworn, states the following to be true and correct to the best
of his knowledge and belief based upon his personal observations and from
information provided to him by knowledgeable law enforcement agents and officers
who are involved in the investigation of Deon Barnard WOODS.

During the month of November 2015, your affiant received information from the
Houston Police Department Narcotics Division that the criminal activities at 5602
Lakefield had resumed despite a February 2015 search warrant which resulted in the
seizure of several firearms and the arrest ofAlfred WOODS. Following the February
2015 search warrant, Alfred WOODS stated that his nephews also use the residence

Since Alfred WOODS’ incarceration on Federal charges, your affiant has learned
from investigators involved in the investigation and from his own surveillance at
5602 Lakefield that Deon Barnard WOODS has assumed control of the residence
along with his cousin Trevon WOODS. Your affiant has observed Deon Bamard
WOODS unlock the cage entrance to 5602 Lakefield to enter the residence and lock it
behind him when he leaves the residence in the morning and at all hours of the day.

. Deon Barnard WOODS, aka: “,’D` is a black male, 5’8”, 150 lbs., date ofbirth of
08/25/1994, Texas Driver License Number 34766269 and FBI# 4417151\/1D6. ln
2012, WOODS was arrested and charged with Aggravated Robbery, cause number
1371 153 in the 232nd District Court of Harris County, Texas and pled guilty to the
lesser charge of Theft from Person, a felony, and served 8 months in the Harris
County Jail.

Your affiant has observed social media postings taken at 5602 Lakefield depicting
numerous different firearms in the residence Your affiant has observed Deon
Barnard WOODS in these social media postings posing with these firearms to include
a Draco assault pistol, a Mac-l 1 assault pistol. AR-15 rifles, an FN P9O assault rifle,
plus several additional handguns.

. On or about Febmary 10, 2016, your affiant observed Deon Barnard WOODS arrive
at 5602 Lakefield wearing a black pistol on his right hip and in open view. Your
affiant observed Deon Barnard WGODS casually having a conversation with others
in the front yard while the firearm was openly displayed. Your affiant observed Deon
Barnard WOODS walk back and forth into the residence with the firearm.

 

8.

10.

ll.

12.

Case 4:16-mj-00287 Document 1 Filed on 03/01/16 in TXSD Page 3 of 3

Over the next several weeks, your affiant received additional information that Deon
Bamard WOODS had been conducting drive-by shootings at a rival’s house. The
residence at 5602 Lakefield also has bullet holes, and investigators believe that they
were likely in response to the drive-by shootings.

On February 25, 2016, your affiant served a Federal search warrant at 5602 Lakefield.
Your affiant recovered a loaded Draco assault pistol, two loaded AR-l5 assault rifles,
ammunition of various pistol and rif1e calibers, and pistol and rif1e magazines to
include a magazine for an FN P9() assault rifle - all similar to what appeared in Deon
Bamard WOODS’ social media postings from the residence Your affiant also
recovered three ballistic vests and spent bullet casings in both the front and back
yards of the residence Your affiant observed bullet holes throughout 5602 Lakefield
as well as bullet holes in the neighboring residence and their vehicle One neighbor
approached you affiant and informed him that the neighborhood has been terrified of
the violence at 5602 Lakefield noting two drive-by shootings in as many months.

Deon Bamard WOODS was not present at the residence during the execution of the
search warrant. While conducting a search at the residence however, your affiant was
advised on social media postings warning WOODS to not return to the residence
noting the presence of law enforcement Your affiant believes that WOODS is
currently in possession of several of the firearms depicted in photographs and
previously posted on social media by Deon Bamard Woods that were not recovered
by your affiant at the residence on February 25.

Your affiant is recognized as an expert in the interstate movement of firearms and
knows that the firearms possessed by Deon Bamard WOODS were manufactured at
various locations outside of the State of Texas and therefore have affected interstate
or foreign commerce to arrive in the State of Texas.

Based on the foregoing, your affiant believes that Deon Barnard WOODS is in
possession of firearms that have moved in or affected interstate commerce in
violation of Title 18, United States Code, Section 922(g)(1). This violation occurred
within Harris County, in the Southern District of Texas.

\Ro'land B lle eros, S ecial Agent
Bureau of Alcohol, obacco, Firearms and
Explosives

\r

Subscribed and sworn to in my presence this ( day of 2016, and l find
probable cause

 

Mary ivmioy l g \\
United States l\/Iagistr te .ludg

